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     Case 7:19-cv-00800-NKM-JCH Document 1 Filed 11/29/19 Page 1 of 10 Pageid#: 1
                  E.StatementofClaimts):Statebiieflytheféctsinthiscompljint.Describqwhat
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